 Case 3:18-cv-02862-M-BH Document 11 Filed 01/04/19                            Page 1 of 2 PageID 138


                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

BERTRUM JEAN, Individually and as the                    §
surviving father of BOTHAM SHEM JEAN,                    §
ALLISON A. JEAN, Individually and as the                 §
surviving mother of BOTHAM SHEM JEAN,                    §
and ALLISA E. FINDLEY as the                             §
Administrator of the Estate of                           §             CIVIL ACTION NO.
BOTHAM SHEM JEAN,                                        §
               Plaintiffs,                               §             3:18-CV-2862-M
                                                         §
v.                                                       §
                                                         §
THE CITY OF DALLAS, TEXAS,                               §
and AMBER GUYGER,                                        §
           Defendants.                                   §

                            THE DEFENDANT CITY OF DALLAS’S
                          AMENDED CERTIFICATE OF CONFERENCE

TO THE HONORABLE COURT:

        The Defendant City of Dallas (“the City”) supplements its certificate of conference filed

in conjunction with The Defendant City of Dallas’s Motion to Extend the Deadline to File Its

Reply Brief, filed on 2 January 2019 (ECF No. 10).

                                   Amended Certificate of Conference

        On Thursday, 3 January 2019, and on Friday, 4 January 2019, counsel for the parties

exchanged additional electronic mail messages as to whether the Plaintiffs oppose the relief that

the City requests in its motion (ECF No. 10), an extension through and including Monday, 7

January 2019 for the City to file its reply in support of the City’s Rule 12(b)(6) motion. The

Plaintiffs do not oppose that relief.




The Defendant City of Dallas’s Supplemental Certificate of Conference
Bertrum Jean et al. v. City of Dallas et. al.; Civil Action No. 3:18cv2862-M                     Page 1
 Case 3:18-cv-02862-M-BH Document 11 Filed 01/04/19                            Page 2 of 2 PageID 139


                                                     Respectfully submitted,

                                                     CITY ATTORNEY OF THE CITY OF DALLAS

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                                                     ATTORNEYS FOR THE DEFENDANT
                                                     CITY OF DALLAS

                                      CERTIFICATE OF SERVICE

        I certify that 4 January 2019, I electronically filed the foregoing document with the clerk
of the court for the U.S. District Court, Northern District of Texas, using the electronic case
filing system of the court. The electronic case filing system sent a “Notice of Electronic Filing”
to the following attorneys of record who have consented in writing to accept this Notice as
service of this document by electronic means:

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                                                     s/ J. G. Schuette
                                                     Senior Assistant City Attorney




The Defendant City of Dallas’s Supplemental Certificate of Conference
Bertrum Jean et al. v. City of Dallas et. al.; Civil Action No. 3:18cv2862-M                     Page 2
